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7

8                          IN THE UNITED STATES DISTRICT COURT

9                             EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,              ) Case No. 1:11-cr-00026 LJO
                                            )
12                           Plaintiff,     ) GOVERNMENT’S MOTION FOR AN
                                            ) ORDER FINDING A PARTIAL WAIVER
13           v.                             ) OF THE ATTORNEY-CLIENT AND
                                            ) WORK PRODUCT PRIVILEGES, AND
14                                          ) FOR AN EXTENSION OF TIME;
     DAVID MARSHALL CRISP,                  ) ORDER
15                                          )
                             Defendant.     )
16                                          )
                                            )
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19        The United States of America, by and through its attorneys,

20   Assistant United States Attorneys Kirk E. Sherriff and Henry Z.

21   Carbajal III, hereby provides notice of and moves for an Order

22   finding a partial waiver of the attorney-client and work product

23   privileges, and permitting discovery as to defendant David Crisp’s

24   communications with his prior counsel, Assistant Federal Defenders

25   Eric Kersten and Francine Zepeda, and as to his counsels’ work

26   product in connection with the representation of Mr. Crisp in this

27   case.    Defendant Crisp has waived such privileges based on his motion

28   filed April 13, 2015 pursuant to 28 U.S.C. § 2255, which asserts

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1    claims of ineffective assistance by his prior counsel as grounds one

2    through three.      Doc. 565, pp.5-9, 11.      “It has long been the rule in

3    the federal courts that, where a habeas petitioner raises a claim of

4    ineffective assistance of counsel, he waives the attorney-client

5    privilege as to all communications with his allegedly ineffective

6    lawyer.”     Bittaker v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003) (en

7    banc).    The waiver applies equally to the work product privilege.

8    Id. at 722 n.6.

9         There is good cause for such discovery to enable the government

10   to respond fully to this Court’s May 19, 2015 Order.             On May 19,

11   2015, the Court ordered the United States to file an opposition by

12   July 3, 2015.      Government counsel have spoken with defendant’s prior

13   counsel, Eric Kersten, concerning defendant Crisp’s § 2255 motion.

14   Mr. Kersten has indicated that he disagrees with defendant’s

15   allegations, but requires that the government obtain a court order

16   finding a privilege waiver before discussing with the government the

17   privileged communications and work product relevant to the response

18   to defendant Crisp’s § 2255 motion, and before providing such

19   communications and work product to the government.             Accordingly, the

20   government is filing the present motion.           The government also

21   requests a 60-day extension of time, to September 1, 2015, to file

22   its response to Crisp’s § 2255 motion, as the government will need

23   additional time to review the materials from defense counsel once

24   they are provided.

25   I.   PROCEDURAL HISTORY

26        On January 13, 2011, defendant Crisp was indicted on felony

27   counts of conspiracy to commit mail fraud, wire fraud and bank fraud;

28   mail fraud; wire fraud; bank fraud; and conspiracy to launder money.

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1    Doc. 1.    Crisp pleaded guilty on December 16, 2013 to count one of

2    the indictment, conspiracy to commit mail fraud, wire fraud and bank

3    fraud, in violation of 18 U.S.C. § 1349.          Docs. 278, 284.       On

4    March 31, 2014, the Court sentenced Crisp to 211 months in prison.

5    Docs. 408, 433.     This sentence was two years less than the low end of

6    the applicable sentencing guideline range.

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     II.   MOTION FOR AN ORDER FINDING A PARTIAL WAIVER OF THE ATTORNEY-
8          CLIENT AND WORK PRODUCT PRIVILEGES
9          A.   Crisp’s Claims of Ineffective Counsel

10         Crisp’s § 2255 motion asserts three grounds based on purported

11   ineffective assistance of counsel:          (1) alleged ineffectiveness in

12   stating that Crisp could not file a direct appeal, (2) alleged

13   ineffectiveness in pre-plea investigation and pre-plea handling of

14   Crisp’s case, and (3) alleged ineffectiveness regarding the

15   calculation of the loss and restitution amounts applicable to Crisp

16   at sentencing.     Doc. 565, pp.1-9.

17         There is good cause for discovery of attorney-client

18   communications and work product concerning counsel’s representation

19   of Crisp in this case with respect to the matters raised in Crisp’s

20   § 2255 motion.     Crisp’s allegations directly concern both attorney-

21   client communications and his counsel’s work product.           To determine

22   whether former counsel provided effective assistance to a defendant,

23   the Court considers whether the assistance was objectively reasonable

24   under the circumstances.       Strickland v. Washington, 466 U.S. 668, 688

25   (1984).    “Judicial scrutiny of counsel’s performance must be highly

26   deferential.”    Id. at 689.        Counsel’s strategic decisions made after

27   thorough investigation of the law and facts are virtually

28   unchallengeable.     Id. at 690.

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1         The government believes that if a waiver of the attorney-client

2    and work product privilege is found, and discovery including a

3    declaration and corroborating documentation from defense counsel is

4    provided to the government, such evidence would rebut defendant’s

5    allegations.    The government requires access to such attorney-client

6    communications and work product, including a declaration from defense

7    counsel, to respond fully to the Court’s May 19, 2015 Order and to

8    defend against Crisp’s ineffective assistance of counsel claims.

9    Accordingly, there is good cause for such discovery in this case.

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          B.    Crisp’s Waiver of the Attorney-Client and Work Product
11              Privileges
12        By his allegations, Crisp has waived the privilege as to

13   attorney-client communications and his counsels’ work product for

14   purposes of the present § 2255 motion.        The privilege is implicitly

15   waived “by asserting claims the opposing party cannot adequately

16   dispute unless it has access to the privileged materials.”

17   Bittaker v. Woodford, 331 F.3d 715, 719 & 722 n.6 (9th Cir. 2003) (en

18   banc) (habeas petitioner waives attorney-client and work product

19   privileges by asserting ineffective assistance of counsel).             The

20   defendant can preserve the confidentiality of such privileged

21   communications only by abandoning the claims that give rise to the

22   waiver condition.     Id. at 721.    “[T]he federal courts have determined

23   that claims of ineffective assistance of counsel cannot be fairly

24   litigated unless the petitioner waives his privilege for purposes of

25   resolving the dispute.”       Id. 722.

26        The privilege waiver in these circumstances is partial, in that

27   the information obtained through the waiver is to be used for

28   purposes of adjudicating the defendant’s § 2255 motion, but not in a

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1    retrial or in an unrelated case.        Id. at 720-25; Lambright v. Ryan,

2    698 F.3d 808, 818 (9th Cir. 2012).         Accordingly, the government seeks

3    a partial privilege waiver that would permit information obtained

4    through the waiver to be used in response to Crisp’s § 2255 motion,

5    but not as evidence in its case-in-chief in any retrial or different

6    case.   The United States cannot adequately litigate the defendant’s

7    claims unless former defense counsel divulges their oral and written

8    communications with the defendant, and their work product, and

9    provides evidence concerning their performance in this case.             One of

10   defendant Crisp’s former counsel, Francine Zepeda, is no longer with

11   the Federal Defender’s Office; defendant’s other former counsel, Eric

12   Kersten, remains with the Federal Defender’s Office.            Accordingly,

13   this motion seeks both counsels’ attorney-client communications and

14   work product primarily through attorney Eric Kersten and the Federal

15   Defender’s Office.

16   III. CONCLUSION

17        The defendant has put the nature of his attorney-client

18   relationship with prior counsel at issue by challenging his

19   performance.    Bittaker, 331 F.3d at 716.        The defendant’s claims of

20   ineffective assistance by his former counsel place his past oral and

21   written communications with former counsel, and his counsels’ work

22   product in this case, directly at issue.          The defendant has therefore

23   waived the attorney-client and work product privileges for purposes

24   of litigating his § 2255 motion.        Id. at 716, 722 n.6.

25        The United States respectfully requests that the Court find

26   that, if defendant Crisp does not timely withdraw his allegations

27   concerning ineffective assistance of counsel, defendant has waived

28   the attorney-client privilege as to all communications with his

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1    former counsel and any privilege as to his counsels’ work product,

2    with respect to the allegations in his § 2255 motion.             The government

3    further requests that the Court order that all such materials

4    concerning events and facts relating to Crisp’s claims of ineffective

5    assistance of counsel be disclosed to the government for purposes of

6    responding to the § 2255 motion, and that defense counsel be directed

7    to provide to the government a declaration responding to Crisp’s

8    § 2255 motion.

9         The government also requests a 60-day extension of time, to

10   September 1, 2015, to file its response to Crisp’s § 2255 motion, as

11   the government will need additional time to review the materials from

12   defense counsel once they are provided.

13   Dated:    June 16, 2015
14                                             Respectfully submitted,
15                                             BENJAMIN B. WAGNER
                                               United States Attorney
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17                                             /s/ Kirk E. Sherriff
                                               KIRK E. SHERRIFF
18                                             HENRY Z. CARBAJAL III
                                               Assistant U.S. Attorneys
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1                                          ORDER

2         Good cause appearing, IN THE ALTERNATIVE, the United States’

3    motion for partial waiver of petitioner David Crisp’s attorney-client

4    privilege and the work product privilege, and for the compelled

5    discovery of responsive attorney-client communications and work

6    product is GRANTED as follows:

7         (1)   The attorney-client privilege of defendant David Crisp is

8               waived with respect to all communications between defendant

9               David Crisp and his former attorneys Eric Kersten and

10              Francine Zepeda, and the Federal Defender’s Office,

11              concerning events and facts related to defendant’s claims

12              of ineffective assistance of counsel in defendant’s § 2255

13              motion in United States v. David Crisp, No. 1:11-cr-0026

14              LJO (E.D. Cal.).

15        (2)   The work product privilege is waived with respect to the

16              work product of attorneys Eric Kersten and Francine Zepeda,

17              and the Federal Defender’s Office, concerning events and

18              facts related to defendant’s claims of ineffective

19              assistance of counsel in his § 2255 motion.

20        (3)   Attorney Eric Kersten and the Federal Defender’s Office

21              shall disclose to the government all communications between

22              defendant David Crisp and his former attorneys and the

23              Federal Defender’s Office, concerning events and facts

24              related to defendant’s claims of ineffective assistance of

25              counsel in his § 2255 motion.

26        (4)   David Crisp’s former defense counsel shall provide the

27              government with a declaration addressing the communications

28              with defendant and work product concerning events and facts

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1               related to the ineffective assistance of counsel claims

2               presented in defendant’s § 2255 motion, and shall

3               communicate and coordinate with government counsel to

4               ensure that all issues are adequately addressed in the

5               declaration.

6         ALTERNATIVELY, the Court orders that if the finding of waiver

7         changes the defendant’s decision on whether or not to proceed

8         with his § 2255 motion, he must notify this Court within ten

9         (10) court days of the date of this Order by withdrawing his

10        allegations concerning ineffective assistance of counsel in his

11        motion.    Failure to do that confirms the alternative portion of

12        this Order finding waiver.

13        The government’s motion for an extension of time, to

14   September 1, 2015, to file its response to defendant Crisp’s § 2255

15   motion is GRANTED.

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17   IT IS SO ORDERED.
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       Dated:   June 18, 2015                    /s/ Lawrence J. O’Neill
19                                         UNITED STATES DISTRICT JUDGE

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